                                                                                        5HY


                           /2&$/%$1.5837&<)250

                    ,17+(81,7('67$7(6%$1.5837&<&2857
                  )257+(0,''/(',675,&72)3(116</9$1,$

 ,15(                                             &+$37(5

 Diane M. Clapper                                     &$6(121CL
                                                                        23 02651-HWV

                                                     ✔
                                                     BBB25,*,1$/3/$1
                                                     BBB$0(1'('3/$1 ,QGLFDWHVWQGUGHWF 

                                                     BBB1XPEHURI0RWLRQVWR$YRLG/LHQV
                                                     BBB1XPEHURI0RWLRQVWR9DOXH&ROODWHUDO

                                     &+$37(53/$1

                                            127,&(6
'HEWRUVPXVWFKHFNRQHER[RQHDFKOLQHWRVWDWHZKHWKHURUQRWWKHSODQLQFOXGHVHDFKRIWKH
IROORZLQJLWHPV,IDQLWHPLVFKHFNHGDV³1RW,QFOXGHG´RULIERWKER[HVDUHFKHFNHGRULI
QHLWKHUER[LVFKHFNHGWKHSURYLVLRQZLOOEHLQHIIHFWLYHLIVHWRXWODWHULQWKHSODQ

  7KHSODQFRQWDLQVQRQVWDQGDUGSURYLVLRQVVHWRXWLQ             ,QFOXGHG    ✔ 1RW
    ZKLFKDUHQRWLQFOXGHGLQWKHVWDQGDUGSODQDVDSSURYHGE\WKH                         ,QFOXGHG
    86%DQNUXSWF\&RXUWIRUWKH0LGGOH'LVWULFWRI
    3HQQV\OYDQLD
  7KHSODQFRQWDLQVDOLPLWRQWKHDPRXQWRIDVHFXUHGFODLPVHW       ,QFOXGHG   ✔     1RW
    RXWLQ(ZKLFKPD\UHVXOWLQDSDUWLDOSD\PHQWRUQR                               ,QFOXGHG
    SD\PHQWDWDOOWRWKHVHFXUHGFUHGLWRU
  7KHSODQDYRLGVDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVH         ,QFOXGHG     ✔ 1RW
    PRQH\VHFXULW\LQWHUHVWVHWRXWLQ*                                              ,QFOXGHG

                            <2855,*+76:,//%($))(&7('
5($'7+,63/$1&$5()8//<,I\RXRSSRVHDQ\SURYLVLRQRIWKLVSODQ\RXPXVWILOHD
WLPHO\ZULWWHQREMHFWLRQ7KLVSODQPD\EHFRQILUPHGDQGEHFRPHELQGLQJRQ\RXZLWKRXWIXUWKHU
QRWLFHRUKHDULQJXQOHVVDZULWWHQREMHFWLRQLVILOHGEHIRUHWKHGHDGOLQHVWDWHGRQWKH1RWLFH
LVVXHGLQFRQQHFWLRQZLWKWKHILOLQJRIWKHSODQ




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 3/$1)81',1*$1'/(1*7+2)3/$1

   $ 3ODQ3D\PHQWV)URP)XWXUH,QFRPH

                                           0
              7RGDWHWKH'HEWRUSDLGBBBBBBBBBBBB     HQWHULIQRSD\PHQWVKDYHEHHQ
                PDGHWRWKH7UXVWHHWRGDWH 'HEWRUVKDOOSD\WRWKH7UXVWHHIRUWKHUHPDLQLQJ
                WHUPRIWKHSODQWKHIROORZLQJSD\PHQWV,IDSSOLFDEOHLQDGGLWLRQWRPRQWKO\
                SODQSD\PHQWV'HEWRUVKDOOPDNHFRQGXLWSD\PHQWVWKURXJKWKH7UXVWHHDVVHW
                                                     55,200.00
                IRUWKEHORZ7KHWRWDOEDVHSODQLVBBBBBBBBBBBBBBBSOXVRWKHUSD\PHQWVDQG
                SURSHUW\VWDWHGLQ%EHORZ

    6WDUW           (QG             3ODQ          (VWLPDWHG      7RWDO           7RWDO
   PP\\\\         PP\\\\        3D\PHQW          &RQGXLW      0RQWKO\        3D\PHQW
                                                     3D\PHQW       3D\PHQW        2YHU3ODQ
                                                                                      7LHU
   12/2023          12/2028          920.00                           920.00        55,200.00




                                                                          7RWDO    55,200.00
                                                                      3D\PHQWV

              ,IWKHSODQSURYLGHVIRUFRQGXLWPRUWJDJHSD\PHQWVDQGWKHPRUWJDJHHQRWLILHV
                WKH7UXVWHHWKDWDGLIIHUHQWSD\PHQWLVGXHWKH7UXVWHHVKDOOQRWLI\WKH'HEWRU
                DQGDQ\DWWRUQH\IRUWKH'HEWRULQZULWLQJWRDGMXVWWKHFRQGXLWSD\PHQWVDQG
                WKHSODQIXQGLQJ'HEWRUPXVWSD\DOOSRVWSHWLWLRQPRUWJDJHSD\PHQWVWKDW
                FRPHGXHEHIRUHWKHLQLWLDWLRQRIFRQGXLWPRUWJDJHSD\PHQWV

              'HEWRUVKDOOHQVXUHWKDWDQ\ZDJHDWWDFKPHQWVDUHDGMXVWHGZKHQQHFHVVDU\WR
                FRQIRUPWRWKHWHUPVRIWKHSODQ

              &+(&.21(  'HEWRULVDWRUXQGHUPHGLDQLQFRPH,IWKLVOLQHLV
                FKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

                                  
                                   ✔ 'HEWRULVRYHUPHGLDQLQFRPH'HEWRUHVWLPDWHVWKDWD
                                               0.00
                                 PLQLPXPRIBBBBBBBBBBBBBBBPXVWEHSDLGWRDOORZHG
                                 XQVHFXUHGFUHGLWRUVLQRUGHUWRFRPSO\ZLWKWKH0HDQV7HVW




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                                                                                       5HY


   % $GGLWLRQDO3ODQ)XQGLQJ)URP/LTXLGDWLRQRI$VVHWV2WKHU

                  7KH'HEWRUHVWLPDWHVWKDWWKHOLTXLGDWLRQYDOXHRIWKLVHVWDWHLV
                      47081.16
                    BBBBBBBBBBBB   /LTXLGDWLRQYDOXHLVFDOFXODWHGDVWKHYDOXHRIDOOQRQ
                    H[HPSWDVVHWVDIWHUWKHGHGXFWLRQRIYDOLGOLHQVDQGHQFXPEUDQFHVDQG
                    EHIRUHWKHGHGXFWLRQRI7UXVWHHIHHVDQGSULRULW\FODLPV 

      Check one of the following two lines.

       ✔
      BBB      1RDVVHWVZLOOEHOLTXLGDWHGIf this line is checked, VNLS%DQGFRPSOHWH%
               LIDSSOLFDEOH

      BBB     &HUWDLQDVVHWVZLOOEHOLTXLGDWHGDVIROORZV

                  ,QDGGLWLRQWRWKHDERYHVSHFLILHGSODQSD\PHQWV'HEWRUVKDOOGHGLFDWHWR
                    WKHSODQSURFHHGVLQWKHHVWLPDWHGDPRXQWRIBBBBBBBBBBBBB IURPWKHVDOH
                    RISURSHUW\NQRZQDQGGHVLJQDWHGDV BBBBBBBBBBBBBBBBBBB
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBB $OOVDOHVVKDOOEHFRPSOHWHGE\
                    BBBBBBBBBBBBBBBBBBB BBB ,IWKHSURSHUW\GRHVQRWVHOOE\WKHGDWH
                    VSHFLILHGWKHQWKHGLVSRVLWLRQRIWKHSURSHUW\VKDOOEHDVIROORZV
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                  2WKHUSD\PHQWVIURPDQ\VRXUFH V  GHVFULEHVSHFLILFDOO\ VKDOOEHSDLGWR
                    WKH7UXVWHHDVIROORZV




 6(&85('&/$,06

   $ 3UH&RQILUPDWLRQ'LVWULEXWLRQVCheck one.

    ✔
   BBB     1RQHIf “None” is checked, the rest of § 2.A need not be completed or reproduced.

   BBB   $GHTXDWHSURWHFWLRQDQGFRQGXLWSD\PHQWVLQWKHIROORZLQJDPRXQWVZLOOEHSDLGE\
          WKH'HEWRUWRWKH7UXVWHH7KH7UXVWHHZLOOGLVEXUVHWKHVHSD\PHQWVIRUZKLFKDSURRI
          RIFODLPKDVEHHQILOHGDVVRRQDVSUDFWLFDEOHDIWHUUHFHLSWRIVDLGSD\PHQWVIURPWKH
          'HEWRU




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                        1DPHRI&UHGLWRU                         /DVW)RXU'LJLWV       (VWLPDWHG
                                                                    RI$FFRXQW           0RQWKO\
                                                                      1XPEHU             3D\PHQW




           7KH7UXVWHHZLOOQRWPDNHDSDUWLDOSD\PHQW,IWKH'HEWRUPDNHVDSDUWLDOSODQ
             SD\PHQWRULILWLVQRWSDLGRQWLPHDQGWKH7UXVWHHLVXQDEOHWRSD\WLPHO\DSD\PHQW
             GXHRQDFODLPLQWKLVVHFWLRQWKH'HEWRU¶VFXUHRIWKLVGHIDXOWPXVWLQFOXGHDQ\
             DSSOLFDEOHODWHFKDUJHV

           ,IDPRUWJDJHHILOHVDQRWLFHSXUVXDQWWR)HG5%DQNU3 E WKHFKDQJHLQ
             WKHFRQGXLWSD\PHQWWRWKH7UXVWHHZLOOQRWUHTXLUHPRGLILFDWLRQRIWKLVSODQ

      % 0RUWJDJHV ,QFOXGLQJ&ODLPV6HFXUHGE\'HEWRU¶V3ULQFLSDO5HVLGHQFH DQG2WKHU
         'LUHFW3D\PHQWVE\'HEWRUCheck one.

      BBB        1RQHIf “None” is checked, the rest of § 2.B need not be completed or reproduced.

       ✔
      BBB   3D\PHQWVZLOOEHPDGHE\WKH'HEWRUGLUHFWO\WRWKHFUHGLWRUDFFRUGLQJWRWKHRULJLQDO
             FRQWUDFWWHUPVDQGZLWKRXWPRGLILFDWLRQRIWKRVHWHUPVXQOHVVRWKHUZLVHDJUHHGWRE\
             WKHFRQWUDFWLQJSDUWLHV$OOOLHQVVXUYLYHWKHSODQLIQRWDYRLGHGRUSDLGLQIXOOXQGHU
             WKHSODQ

       1DPHRI&UHGLWRU                       'HVFULSWLRQRI&ROODWHUDO             /DVW)RXU'LJLWV
                                                                                        RI$FFRXQW
                                                                                          1XPEHU
PNC Bank (mortgage)                   59 Longview Dr., Mechanicsburg, PA                   4884


PNC Bank (HELOC)                      59 Longview Dr., Mechanicsburg, PA                   9357


Ally Financial                        2018 Jeep Renegade                                   9646




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   & $UUHDUV ,QFOXGLQJEXWQRWOLPLWHGWRFODLPVVHFXUHGE\'HEWRU¶VSULQFLSDO
      UHVLGHQFH Check one.

    ✔
   BBB    1RQHIf “None” is checked, the rest of § 2.C need not be completed or reproduced.

   BBB    7KH7UXVWHHVKDOOGLVWULEXWHWRHDFKFUHGLWRUVHWIRUWKEHORZWKHDPRXQWRIDUUHDUDJHV
          LQWKHDOORZHGFODLP,ISRVWSHWLWLRQDUUHDUVDUHQRWLWHPL]HGLQDQDOORZHGFODLP
          WKH\VKDOOEHSDLGLQWKHDPRXQWVWDWHGEHORZ8QOHVVRWKHUZLVHRUGHUHGLIUHOLHI
          IURPWKHDXWRPDWLFVWD\LVJUDQWHGDVWRDQ\FROODWHUDOOLVWHGLQWKLVVHFWLRQDOO
          SD\PHQWVWRWKHFUHGLWRUDVWRWKDWFROODWHUDOVKDOOFHDVHDQGWKHFODLPZLOOQR
          ORQJHUEHSURYLGHGIRUXQGHU E  RIWKH%DQNUXSWF\&RGH

 1DPHRI&UHGLWRU             'HVFULSWLRQRI         (VWLPDWHG (VWLPDWHG      (VWLPDWHG
                                &ROODWHUDO           3UHSHWLWLRQ 3RVWSHWLWLRQ 7RWDO WR EH
                                                       $UUHDUVWR $UUHDUVWR SDLGLQSODQ
                                                       EH&XUHG     EH&XUHG




   ' 2WKHUVHFXUHGFODLPV FRQGXLWSD\PHQWVDQGFODLPVIRUZKLFKDYDOXDWLRQLV
      QRWDSSOLFDEOHHWF

    ✔
   BBB    1RQHIf “None” is checked, the rest of § 2.D need not be completed or reproduced.

   BBB   7KHFODLPVEHORZDUHVHFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVQRWDSSOLFDEOH
          DQGFDQLQFOXGH  FODLPVWKDWZHUHHLWKHU D LQFXUUHGZLWKLQGD\VRIWKH
          SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOH
          DFTXLUHGIRUWKHSHUVRQDOXVHRIWKH'HEWRURU E LQFXUUHGZLWKLQ\HDURIWKH
          SHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRI
          YDOXH  FRQGXLWSD\PHQWVRU  VHFXUHGFODLPVQRWSURYLGHGIRUHOVHZKHUH




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           7KHDOORZHGVHFXUHGFODLPVOLVWHGEHORZVKDOOEHSDLGLQIXOODQGWKHLUOLHQV
             UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
             QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH

           ,QDGGLWLRQWRSD\PHQWRIWKHDOORZHGVHFXUHGFODLPSUHVHQWYDOXHLQWHUHVW
             SXUVXDQWWR86& D  % LL ZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQW
             OLVWHGEHORZXQOHVVDQREMHFWLRQLVUDLVHG,IDQREMHFWLRQLVUDLVHGWKHQWKHFRXUW
             ZLOOGHWHUPLQHWKHSUHVHQWYDOXHLQWHUHVWUDWHDQGDPRXQWDWWKHFRQILUPDWLRQ
             KHDULQJ

           8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDV
             SDLGSD\PHQWVRQWKHFODLPVKDOOFHDVH

  1DPHRI&UHGLWRU         'HVFULSWLRQRI&ROODWHUDO      3ULQFLSDO      ,QWHUHVW 7RWDOWREH
                                                            %DODQFHRI       5DWH   3DLGLQ3ODQ
                                                              &ODLP




   ( 6HFXUHGFODLPVIRUZKLFKDYDOXDWLRQLVDSSOLFDEOH&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI(QHHGQRWEHFRPSOHWHGRUUHSURGXFHG
   BBB&ODLPVOLVWHGLQWKHVXEVHFWLRQDUHGHEWVVHFXUHGE\SURSHUW\QRWGHVFULEHGLQ'RI
            WKLVSODQ7KHVHFODLPVZLOOEHSDLGLQWKHSODQDFFRUGLQJWRPRGLILHGWHUPVDQGOLHQV
            UHWDLQHGXQWLOWKHHDUOLHURIWKHSD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHU
            QRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHURIWKH&RGH7KHH[FHVVRIWKH
            FUHGLWRU¶VFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLP$Q\FODLPOLVWHGDV³´RU
            ³129$/8(´LQWKH³0RGLILHG3ULQFLSDO%DODQFH´FROXPQEHORZZLOOEHWUHDWHGDV
            DQXQVHFXUHGFODLP7KHOLHQVZLOOEHDYRLGHGRUOLPLWHGWKURXJKWKHSODQRU'HEWRU
            ZLOOILOHDQDGYHUVDU\RURWKHUDFWLRQ VHOHFWPHWKRGLQODVWFROXPQ 7RWKHH[WHQWQRW
            DOUHDG\GHWHUPLQHGWKHDPRXQWH[WHQWRUYDOLGLW\RIWKHDOORZHGVHFXUHGFODLPIRU
            HDFKFODLPOLVWHGEHORZZLOOEHGHWHUPLQHGE\WKHFRXUWDWWKHFRQILUPDWLRQKHDULQJ
            8QOHVVRWKHUZLVHRUGHUHGLIWKHFODLPDQWQRWLILHVWKH7UXVWHHWKDWWKHFODLPZDVSDLG
            SD\PHQWVRQWKHFODLPVKDOOFHDVH




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                                                                                    5HY


 1DPHRI&UHGLWRU         'HVFULSWLRQRI       9DOXHRI ,QWHUHVW 7RWDO             3ODQ
                            &ROODWHUDO         &ROODWHUDO  5DWH 3D\PHQW          $GYHUVDU\
                                                 0RGLILHG                            RU2WKHU
                                                3ULQFLSDO                            $FWLRQ




   ) 6XUUHQGHURI&ROODWHUDO&KHFNRQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI)QHHGQRWEHFRPSOHWHGRUUHSURGXFHG

   BBB 7KH'HEWRUHOHFWVWRVXUUHQGHUWRHDFKFUHGLWRUOLVWHGEHORZWKHFROODWHUDOWKDWVHFXUHV
         WKHFUHGLWRU¶VFODLP7KH'HEWRUUHTXHVWVWKDWXSRQFRQILUPDWLRQRIWKLVSODQRUXSRQ
         DSSURYDORIDQ\PRGLILHGSODQWKHVWD\XQGHU86& D EHWHUPLQDWHGDVWR
         WKHFROODWHUDORQO\DQGWKDWWKHVWD\XQGHUEHWHUPLQDWHGLQDOOUHVSHFWV$Q\
         DOORZHGXQVHFXUHGFODLPUHVXOWLQJIURPWKHGLVSRVLWLRQRIWKHFROODWHUDOZLOOEHWUHDWHG
         LQ3DUWEHORZ

       1DPHRI&UHGLWRU                     'HVFULSWLRQRI&ROODWHUDOWREH6XUUHQGHUHG




   * /LHQ$YRLGDQFH'RQRWXVHIRUPRUWJDJHVRUIRUVWDWXWRU\OLHQVVXFKDVWD[OLHQV&KHFN
      RQH

    ✔
   BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI*QHHGQRWEHFRPSOHWHGRUUHSURGXFHG




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     BBB 7KH'HEWRUPRYHVWRDYRLGWKHIROORZLQJMXGLFLDODQGRUQRQSRVVHVVRU\QRQSXUFKDVH
           PRQH\OLHQVRIWKHIROORZLQJFUHGLWRUVSXUVXDQWWR I  WKLVVKRXOGQRWEHXVHG
           IRUVWDWXWRU\RUFRQVHQVXDOOLHQVVXFKDVPRUWJDJHV 

 1DPHRI/LHQ+ROGHU


 /LHQ'HVFULSWLRQ
 )RUMXGLFLDOOLHQLQFOXGHFRXUW
 DQGGRFNHWQXPEHU
 'HVFULSWLRQRIWKH
 OLHQHGSURSHUW\
 /LHQHG$VVHW9DOXH
 6XPRI6HQLRU/LHQV
 ([HPSWLRQ&ODLPHG
 $PRXQWRI/LHQ
 $PRXQW$YRLGHG


 35,25,7<&/$,06

    $ $GPLQLVWUDWLYH&ODLPV

           7UXVWHH¶V)HHV3HUFHQWDJHIHHVSD\DEOHWRWKH7UXVWHHZLOOEHSDLGDWWKHUDWHIL[HG
             E\WKH8QLWHG6WDWHV7UXVWHH

           $WWRUQH\¶VIHHV&RPSOHWHRQO\RQHRIWKHIROORZLQJRSWLRQV

                 D ,QDGGLWLRQWRWKHUHWDLQHURIBBBBBBBBBBBBBDOUHDG\SDLGE\WKH'HEWRUWKH
                                                    400.00
                                 3100.00
                    DPRXQWRIBBBBBBBBBBBBBLQWKHSODQ7KLVUHSUHVHQWVWKHXQSDLGEDODQFHRIWKH
                    SUHVXPSWLYHO\UHDVRQDEOHIHHVSHFLILHGLQ/%5 F RU

                 E BBBBBBBBBBBBBSHUKRXUZLWKWKHKRXUO\UDWHWREHDGMXVWHGLQDFFRUGDQFHZLWK
                    WKHWHUPVRIWKHZULWWHQIHHDJUHHPHQWEHWZHHQWKH'HEWRUDQGWKHDWWRUQH\
                    3D\PHQWRIVXFKORGHVWDUFRPSHQVDWLRQVKDOOUHTXLUHDVHSDUDWHIHHDSSOLFDWLRQ
                    ZLWKWKHFRPSHQVDWLRQDSSURYHGE\WKH&RXUWSXUVXDQWWR/%5 E 

           2WKHU2WKHUDGPLQLVWUDWLYHFODLPVQRWLQFOXGHGLQ$RU$DERYH&KHFN
                     RQHRIWKHIROORZLQJWZROLQHV

                  ✔
                 BBB       1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI$QHHGQRWEHFRPSOHWHGRU
                             UHSURGXFHG

                 BBB        7KHIROORZLQJDGPLQLVWUDWLYHFODLPVZLOOEHSDLGLQIXOO

                                                           


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                                                                                    5HY




              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




   % 3ULRULW\&ODLPV LQFOXGLQJFHUWDLQ'RPHVWLF6XSSRUW2EOLJDWLRQV

      $OORZHGXQVHFXUHGFODLPVHQWLWOHGWRSULRULW\XQGHU D ZLOOEHSDLGLQIXOO
      XQOHVVPRGLILHGXQGHU


              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




   & 'RPHVWLF6XSSRUW2EOLJDWLRQVDVVLJQHGWRRURZHGWRDJRYHUQPHQWDOXQLWXQGHU
      86& D  % &KHFNRQHRIWKHIROORZLQJWZROLQHV.

      BBB   1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI&QHHGQRWEHFRPSOHWHGRU
              UHSURGXFHG

      BBB    7KHDOORZHGSULRULW\FODLPVOLVWHGEHORZDUHEDVHGRQDGRPHVWLFVXSSRUW
              REOLJDWLRQWKDWKDVEHHQDVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEH
              SDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLP7KLVSODQSURYLVLRQUHTXLUHVWKDW
              SD\PHQWVLQ$EHIRUDWHUPRIPRQWKV VHH86& D  

              1DPHRI&UHGLWRU                             (VWLPDWHG7RWDO3D\PHQW




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 816(&85('&/$,06

   $ &ODLPVRI8QVHFXUHG1RQSULRULW\&UHGLWRUV6SHFLDOO\&ODVVLILHGCheck one of the
      following two lines.

       ✔
       BBB      1RQHIf “None” is checked, the rest of § 4.A need not be completed or
                reproduced.

       ___      7RWKHH[WHQWWKDWIXQGVDUHDYDLODEOHWKHDOORZHGDPRXQWRIWKHIROORZLQJ
                XQVHFXUHGFODLPVVXFKDVFRVLJQHGXQVHFXUHGGHEWVZLOOEHSDLGEHIRUHRWKHU
                XQFODVVLILHGXQVHFXUHGFODLPV7KHFODLPVKDOOEHSDLGLQWHUHVWDWWKHUDWHVWDWHG
                EHORZ,IQRUDWHLVVWDWHGWKHLQWHUHVWUDWHVHWIRUWKLQWKHSURRIRIFODLPVKDOO
                DSSO\

  1DPHRI&UHGLWRU              5HDVRQIRU6SHFLDO          (VWLPDWHG     ,QWHUHVW     (VWLPDWHG
                                   &ODVVLILFDWLRQ            $PRXQWRI       5DWH         7RWDO
                                                               &ODLP                      3D\PHQW




   % 5HPDLQLQJDOORZHGXQVHFXUHGFODLPVZLOOUHFHLYHDSURUDWDGLVWULEXWLRQRIIXQGV
      UHPDLQLQJDIWHUSD\PHQWRIRWKHUFODVVHV

 (;(&8725<&2175$&76$1'81(;3,5('/($6(6Check one of the following
   two lines.

   ✔
   BBB      1RQHIf “None” is checked, the rest of § 5 need not be completed or reproduced.

   ___   7KHIROORZLQJFRQWUDFWVDQGOHDVHVDUHDVVXPHG DQGDUUHDUVLQWKHDOORZHGFODLPWR
          EHFXUHGLQWKHSODQ RUUHMHFWHG

1DPHRI2WKHU          'HVFULSWLRQRI    0RQWKO\ ,QWHUHVW (VWLPDWHG           7RWDO   $VVXPH
   3DUW\                &RQWUDFWRU      3D\PHQW    5DWH   $UUHDUV            3ODQ  RU5HMHFW
                            /HDVH                                              3D\PHQW




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 9(67,1*2)3523(57<2)7+((67$7(

    3URSHUW\RIWKHHVWDWHZLOOYHVWLQWKH'HEWRUXSRQ

    Check the applicable line:

    BBBSODQ FRQILUPDWLRQ
     ✔ HQWU\RIGLVFKDUJH
    BBB
    BBBFORVLQJRIFDVH


 ',6&+$5*( &KHFNRQH

     
      ✔  7KHGHEWRUZLOOVHHNDGLVFKDUJHSXUVXDQWWR D 
       7KHGHEWRULVQRWHOLJLEOHIRUDGLVFKDUJHEHFDXVHWKHGHEWRUKDVSUHYLRXVO\UHFHLYHGD
          GLVFKDUJHGHVFULEHGLQ I 

 25'(52)',675,%87,21

,IDSUHSHWLWLRQFUHGLWRUILOHVDVHFXUHGSULRULW\RUVSHFLDOO\FODVVLILHGFODLPDIWHUWKHEDUGDWH
WKH7UXVWHHZLOOWUHDWWKHFODLPDVDOORZHGVXEMHFWWRREMHFWLRQE\WKH'HEWRU




3D\PHQWVIURPWKHSODQZLOOEHPDGHE\WKH7UXVWHHLQWKHIROORZLQJRUGHU
/HYHOBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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,IWKHDERYH/HYHOVDUHILOOHGLQWKHUHVWRIQHHGQRWEHFRPSOHWHGRUUHSURGXFHG,IWKHDERYH
/HYHOVDUHQRWILOOHGLQWKHQWKHRUGHURIGLVWULEXWLRQRISODQSD\PHQWVZLOOEHGHWHUPLQHGE\WKH
7UXVWHHXVLQJWKHIROORZLQJDVDJXLGH

/HYHO$GHTXDWHSURWHFWLRQSD\PHQWV
/HYHO'HEWRU¶VDWWRUQH\¶VIHHV
/HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
/HYHO3ULRULW\FODLPVSURUDWD
/HYHO6HFXUHGFODLPVSURUDWD
/HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
/HYHO7LPHO\ILOHGJHQHUDOXQVHFXUHGFODLPV
/HYHO8QWLPHO\ILOHGJHQHUDOXQVHFXUHGFODLPVWRZKLFKWKH'HEWRUKDVQRWREMHFWHG


 12167$1'$5'3/$13529,6,216

,QFOXGHWKHDGGLWLRQDOSURYLVLRQVEHORZRURQDQDWWDFKPHQW$Q\QRQVWDQGDUGSURYLVLRQ
SODFHGHOVHZKHUHLQWKHSODQLVYRLG 127(7KHSODQDQGDQ\DWWDFKPHQWPXVWEHILOHGDV
RQHGRFXPHQWQRWDVDSODQDQGH[KLELW 




      12/05/2023
'DWHGBBBBBBBBBBBBBBB                   /s/Richard Koch
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          $WWRUQH\IRU'HEWRU



                                          /s/Diane M. Clapper
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          'HEWRU

                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          -RLQW'HEWRU


%\ILOLQJWKLVGRFXPHQWWKHGHEWRULIQRWUHSUHVHQWHGE\DQDWWRUQH\RUWKH$WWRUQH\IRU'HEWRU
DOVRFHUWLILHVWKDWWKLVSODQFRQWDLQVQRQRQVWDQGDUGSURYLVLRQVRWKHUWKDQWKRVHVHWRXWLQ



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